Case 2:03-cV-02330-SHI\/|-ch Document 379 Filed 04/27/05 Page 1 of 5 Page|D 657

 

UNITED STATES DISTRICT COU'RT 9
WESTERN DISTRICT oF TENNESSEE 05 " .' ;,. 11
WESTERN DIVISION d 2
W.D OF m m.v.PrJ;S

 

LECTROLARM CUSTOM SYSTEMS, INC.
Plaintiff,

Civil Action No. 03-2330 Ma A

v.

Vl CON lNDUSTRIES, INC., et al.

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Defendants.

 

 

[BRQ¥@S%D] ORDER GRANTING DEFENDANT GE INTERLOGIX, INC.’S
UNOPPOSED MO'I`ION FOR PERMISSION TO FILE A REPLY TO ITS MOTION TO
COMPEL LECTROLARM TO PROVIDE ANSWERS TO GE’S REQUESTS FOR
ADMISSION NOS. 11-18

 

Before the Court is Dei`endant GE lnterlogix, lnc.’s unopposed motion for permission to
file an abbreviated Reply to Lectrolann’s opposition to GE’s Motion to Compel Lectrolarm to
Provide Answers to GE’s Requests for Adrnission Nos. l 1-18. For good cause shown, the
motion is GRANTED.

lT lS SO ORDERED.

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Honorable Samuel Mays
US DISTRICT COURT

